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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION




UNITED STATES OF AMERICA             *
                                     *


      V.                             *     CR 116-045
                                     *


DARREN DEVALE TOWNSEND, JR.          *




                              ORDER




      Defendant in the captioned criminal matter has filed two

substantively identical motions entitled "Motion to Preserve

Right     to   Challenge   'Relevant     Conduct'   Under     Nelson    v.

Colorado. 137 S.Ct. 1249 (2017)."         The government opposes the

motions.


      In April 2017, Defendant pled guilty to one count of

conspiracy to distribute and possess with intent to distribute

controlled substances. He was subsequently sentenced to serve

152 months in prison followed by three years of supervised

release.       Defendant   did     not   appeal   his   conviction     and

sentence.^

      Presently, Defendant notifies the Court that he expects

the   United    States   Supreme   Court's   decision    in   Nelson   v.



      ^    Defendant's plea agreement contained an appeal waiver
with limited exceptions.
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Colorado to have a direct impact on the validity of his

sentence.    This is so, according to Defendant, because the

Nelson    decision   contains   dicta    which   indicates   that    the


Supreme Court will overrule its decision in United States v.

Watts. 519 U.S. 148 (1997).

      In Watts. the Supreme Court held that a jury's verdict of

acquittal    does    not   prevent   the   sentencing    court      from

considering acquitted conduct so long as the conduct was

proven by a preponderance of the evidence.         Id. at 149, 157.

In Nelson, the Supreme Court held invalid the statutes in

Colorado which require criminal defendants whose convictions

have been reversed or vacated to prove their innocence by

clear and convincing evidence in order to obtain the refund of

costs, fees, and restitution paid pursuant to the invalid

convictions.    137 S. Ct. at 1257-58.       The Watts decision was

never mentioned in Nelson, and indeed, the two holdings are

not at odds with one another.^

      Setting aside the fact that Nelson does not portend to

overrule Watts, even if it did, this Court cannot provide

relief based upon a hypothetical future ruling of Supreme


      ^   As succinctly pointed out by the court in United
States V. Teaeler.         F. Supp. 3d      , 2018 WL 1954200, at *3
(D. Neb. Apr. 16, 2018): "Nelson deals with the State's
retention of funds following the invalidation of a conviction,
and Watts deals with the clearly distinguishable question of
what evidence may be considered at sentencing on a valid
conviction." (emphasis in original)).
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Court precedent.      Defendant recognizes that an attack against

the legality of his sentence should be filed pursuant to 28

U.S.C. § 2255. Recognizing the limitations of § 2255 filings,

Defendant states that he does not wish to convert his present

motion to a § 2255 motion.           He simply wishes to file his

motion as a ''placeholder."        The Court notes, however, that §

2255(f) provides a mechanism to file a motion outside of one

year from the date the judgment of conviction becomes final.

For   instance,     while   this   Court   will   not   comment       on   its

application to this case, the statute provides that the one-

year statute of limitations may run from "the date on which

the right asserted was initially recognized by the Supreme

Court, if that right has been newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral

review."    28 U.S.C. § 2255(f)(3).

      In any event, there is simply no statutory or other

authority    that    would   allow    this   Court      to   provide       the

"placeholder" relief sought by Defendant.               Accordingly, his

motions to preserve his right to challenge "relevant conduct"

(docs. 124 & 144) are DENIED,                                     .

      ORDER ENTERED at Augusta, Georgia, this
                                                             qjA
                                                             f   day of

July, 2018.




                                     J. EMDMT HALl,/CHIEF
                                     UNITED STATES DISTRICT COURT
                                     SOUTHBFJN DISTRICT OF GEORGIA
